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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA


                           CASE NUMBER: 1:24-cv-22076


   YOLANDA LOPEZ

         Plaintiff

   vs.

   CITY OF OPA-LOCKA, JOHANE
   TAYLOR, and GABRIELA LLANES


         Defendants.
                                     /

                                     COMPLAINT

         Plaintiff YOLANDA LOPEZ (“LOPEZ”) through undersigned counsel, sues the

  CITY OF OPA LOCKA and CITY OF OPA LOCKA Police Officers JOHANE TAYLOR

  and GABRIELA LLANES based on False Arrest, Malicious Prosecution, Excessive

  Force and Civil Rights Violations and states as follows:



                                   INTRODUCTION

         On October 1st, 2022, Plaintiff Yolanda Lopez was innocently standing on

  public property in front of the former Opa Locka Flea Market after her and

  husband had been thrown on the street and forced to close their family business.

  The Opa Locka Police Officers, who were on duty and in uniform, brutally

  attacked her and threw her to floor and repeatedly stun gunned her as Yolanda

  was actually calling 911 to complain about police misconduct.


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        While Yolanda was calling 911 to complain about the police misconduct,

  an Opa Locka Police Officer with the assistance of a police sergeant with whom

  she was romantically involved, struck, and threw Yolanda on the ground and

  repeatedly stun gunned her as she was pleading for mercy. This Federal Civil

  Rights and State law tort action arises from the false arrest, stun gunning and

  beating of Yolanda Lopez on October 1, 2022, by Defendants Opa-Locka Police

  Officers Johane Taylor and Gabriela Llanes. Plaintiff files this action seeking

  monetary, declaratory, and injunctive relief, including damages stemming from

  these officers’ excessive force used while illegally arresting Yolanda Lopez and

  tased her and physically assaulted her for no reason.



                           JURISDICTION AND PARTIES
        1.    This is an action for damages exceeding $75,000.00, not including

  costs, attorney’s fees, and prejudgment interest.

        2.    The claims asserted arise pursuant to 42 U.S.C. §§ 1983 and 1988,

  the Fourth Amendment to the United States Constitution, the Fourteenth

  Amendment to the United States Constitution, and the laws of the State of

  Florida. This Court has jurisdiction to hear all claims contained in this action.

        3.    This court has original jurisdiction over claims brought pursuant to

  42 U.S.C. § 1983 and concurrent subject matter jurisdiction over the claims

  brought pursuant to Florida law.

        4.    Venue is properly in Miami-Dade County, Florida because it is where

  all the parties reside and where the events complained of occurred.

        5.    Plaintiffs have performed all conditions precedent, in accordance

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  with §768.28(6), Florida Statutes, and all other requirements, before bringing

  this action. All conditions precedent have otherwise occurred, been performed,

  been met, been waived, would be futile, or are otherwise inapplicable.

        6.     This complaint is based on the individual and concerted conduct of

  the named Defendants in using the police power of the State of Florida to deprive

  Lopez of her constitutional and civil rights. The Defendants’ conduct, individually

  and jointly, made under color of law, violated the rights of Lopez under the

  Fourth and Fourteenth Amendments to the United States Constitution as well

  as the statutes and laws of Florida.

        7.     At all times material to this action, all Defendants acted under color

  of state or local law.

                                      PARTIES

        8.     Plaintiff YOLANDA LOPEZ (hereinafter the “Plaintiff” or “Lopez”) is a

  resident of Miami Dade County Florida and is otherwise sui juris.

        9.     At all relevant times, Defendant CITY OF OPA-LOCKA (“City”) is and

  was a duly organized public entity existing under the laws of the State of Florida.

  At all relevant times, City was the employer of Defendant Officer Johane Taylor

  and Sgt. Gabriela Llanes.

        10.    At all relevant times, Defendant Officer Johane Taylor was a duly

  authorized employee and agent of City, who was acting under color of law within

  the course and scope of his duties as a police officer and with the complete

  authority and ratification of his principal, Defendant City. Officer Taylor is a

  citizen of the State of Florida residing in Miami-Dade County and is over the age



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  of 18 years.

        11.      At all relevant times, Defendant Llanes was a duly authorized

  employee and agent of City, who was acting under color of law within the course

  and scope of her duties as a police officer and with the complete authority and

  ratification of his principal, Defendant City. Sgt. Llanes is a citizen of the State

  of Florida residing in Miami-Dade County and is over the age of 18 years.

        12.      The causes of actions contained in this complaint occurred and

  accrued in Miami-Dade County, Florida, in the Southern District of Florida.

                    RELEVANT FACTS COMMON TO ALL COUNTS

        13.      The now defunct Opa-Locka Flea Market at 12705 NW 42nd Avenue

  Opa-Locka, Florida 33054, at all times relevant was the place of arrest of Plaintiff

  Lopez.

        14.      Lopez was standing on the corner outside of the Opa-Locka Flea

  Market in a public right of way after her and her husband had their business

  evicted from the Flea Market.

        15.      Lopez was simply minding her own business and attempting to pass

  out flyers to notify her customers of her new location.

        16.      Officer Gabriela Llanes was in uniform and working as a City of Opa

  Locka Police Officer.

        17.      Plaintiff Yolanda Llanes began to be harassed by Officer Llanes and

  the Opa Locka Police.

        18.      Plaintiff then called the Miami Dade County 911 police emergency

  phone line to seek assistance from Llanes and the Opa Locka police harassment



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  and violations of her First Amendment Rights.

        19.    As the Plaintiff was on the phone with 911, Defendant Llanes, acting

  in uniform as a Opa Locka Police Officer, detained and arrested her with no

  probable cause.

        20.    In the process, Officer Llanes both physically injured and mentally

  traumatized the Plaintiff.

        21.    Opa Locka Police Sergeant Johane Taylor arrived on the scene and

  physically assisted in the illegal detention and arrest of the Plaintiff, causing her

  both physical injury and psychological trauma.

        22.    After brutally assaulting and battering the Plaintiff with no probable

  cause, Llanes and Taylor then stun gunned her multiple times while she laid

  helpless on the floor and screaming for mercy.

        23.    Lopez was tased and physically assaulted for no reason.

        24.    The Plaintiff was taken into custody with no probable cause or

  reasonable suspicion that she committed any crimes.

        25.    Lopez was arrested and later transported to Jackson Hospital for

  further medical treatment and evaluation.

        26.    The Plaintiff was then transported to jail having been beaten, stun

  gunned and falsely arrested.

        27.    Because there was never any reason to detain, the charges against

  the Plaintiff were dismissed as having no merit.



          CAUSES OF ACTIONS AGAINST SGT. LLANES AND TAYLOR


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    COUNT I – False Arrest — Under 42 U.S.C. § 1983, Fourth Amendment,
                        and Fourteenth Amendment
                         (Against Llanes and Taylor)

        28.   Plaintiff realleges paragraphs 1 through 27.

        29.   By placing Lopez in handcuffs and transporting her to the County

  Jail, Defendants arrested her.

        30.   At the time of the arrest, no reasonable police officer could have

  believed that there was probable cause to believe Lopez committed any criminal

  offense.

        31.   Prior to arresting Lopez, Defendants did not have any reasonable

  articulable suspicion that would authorize the detention of Plaintiff for any

  reason or length of time.

        32.   The actions of each Defendant were the proximate cause of Plaintiff’s

  arrest.

        33.   Defendant Llanes and Taylor conduct caused Lopez’s injuries and

  mental anguish.

        34.   Defendant Llanes and Taylor acted under color of law and as

  employees of the Opa-Locka Police Department in committing the conduct

  identified in this Count.

        35.   Defendant Llanes and Taylor unlawful Arrest was willful, reckless,

  callous, intentional, and malicious in derogation of the decedent’s rights under

  federal and state law.

        36.   By reason of the acts, omissions, wrongs, and other conduct

  perpetrated by Llanes and Taylor    individually, severally, and collectively, in


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  depriving Lopez of valuable constitutional rights, it was necessary for the Plaintiff

  to retain the services of legal counsel to secure redress for the deprivation of

  Lopez’s constitutional rights. Thus, the Plaintiff incurred substantial and

  reasonable attorney’s fees and costs and is entitled to recover pursuant to 42

  U.S.C. §1988 and under Florida law.

        For these reasons, Lopez demands judgment in excess of Seventy-Five

  Thousand Dollars ($75,000.00) against the Defendants for damages, punitive

  damages, prejudgment interest on liquidated damages as allowed by law, costs

  of this action, reasonable attorney’s fees, and any other relief this Court deems

  just and proper.

         COUNT II – Excessive Force — Under 42 U.S.C. § 1983, Fourth
                  Amendment, and Fourteenth Amendment
                         (Against Llanes and Taylor)

        37.    Plaintiff realleges paragraphs 1 through 27.

        38.    The tasing and physical assault on a female who was unable to

  move, was not accused of committing a crime, posed no threat of immediate

  harm, and was not arrested for any lawful basis, by an army of officers, is

  shocking to the conscience.

        39.    Defendant Llanes and Taylor committed acts that violated Lopez’s

  constitutional rights, including but not limited to, the right not to be subjected

  to excessive or unreasonable force, the right not to be subjected to unreasonable

  searches and seizures, the right to bodily integrity, the right to freedom of

  movement, and the right to terminate a police encounter not premised on

  reasonable suspicion or probable cause, and the right not to be subjected to


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  warrantless and nonconsensual entry into her home in the absence of lawful

  exigent circumstances.

        40.       Defendant Llanes and Taylor conduct caused Lopez’s injuries and

  mental anguish.

        41.       Defendant Llanes and Taylor use of excessive force while executing

  the illegal arrest of Lopez was willful, reckless, callous, intentional, and malicious

  in derogation of the decedent’s rights under federal and state law.

        42.       The use of excessive force was done with callous and deliberate

  indifference to Lopez’s federally and state protected right to be free from excessive

  use of force.

        43.       Defendant Llanes and Taylor acted under color of law and as

  employees of the Opa-Locka Police Department in committing the conduct

  identified in this Count.

        44.       As a direct and proximate result of Llanes and Taylor’s violation of

  Lopez’s civil rights, Lopez suffered damages, including mental anguish, bodily

  injury, pain and suffering, and humiliation.

        45.       The force used to effectuate Lopez’s arrest is the proximate cause of

  her physical and mental injuries.

        46.       By reason of the acts, omissions, wrongs, and other conduct

  perpetrated by Llanes and Taylor individually, severally, and collectively, in

  depriving Lopez of valuable constitutional rights, it was necessary for the Plaintiff

  to retain the services of legal counsel to secure redress for the deprivation of

  Lopez’s constitutional rights. Thus, the Plaintiff incurred substantial and


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  reasonable attorney’s fees and costs and is entitled to recover them from

  Defendants pursuant to 42 U.S.C. §1988 and under Florida law.

        For these reasons, Lopez demands judgment in excess of Seventy-Five

  Thousand Dollars ($75,000.00) against Defendants for damages, punitive

  damages, prejudgment interest on liquidated damages as allowed by law, costs

  of this action, reasonable attorney’s fees, and any other relief this Court deems

  just and proper.

                         COUNT III - Assault and Battery
                           (Against Llanes and Taylor)

        47.   Plaintiff realleges paragraphs 1 through 27.

        48.   Defendants Llanes and Taylor committed acts intended to cause

  Lopez an apprehension of harmful or offensive contact.

        49.   Defendants Llanes and Taylor committed acts that caused

  apprehension in Lopez that harmful or offensive contact was imminent.

        50.   Lopez suffered a harmful and offensive contact when tasered,

  dropped to the ground, and bruised up Llanes and Taylor.

        51.   Defendants Llanes and Taylor were acting in the scope and

  furtherance of their employment as law enforcement officers.

        52.   Defendants Llanes and Taylor acted intentionally, in bad faith, or

  with malicious purpose or in a manner exhibiting wanton and willful disregard

  of human rights, safety, or property.

        53.   As a direct and proximate result of Llanes and Taylor’s conduct,

  Lopez suffered damages, including bodily injury, pain and suffering, humiliation,

  loss of earnings, and loss of ability to earn money. The losses are permanent.

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        For these reasons, Lopez demands judgment against Defendants Llanes

  and Taylor for compensatory damages, punitive damages, prejudgment interest

  on liquidated damages as allowed by law, costs, and such other and further relief

  as the Court deems appropriate.

                      COUNT IV - False Imprisonment Claim
                          (Against Taylor and Llanes)

        54.    Plaintiff realleges paragraphs 1 through 27.

        55.    Defendants Llanes and Taylor did not have reasonable suspicion or

  probable cause to seize or arrest Lopez.

        56.    Defendants Llanes and Taylor did not have warrant to seize or arrest

  Lopez.

        57.    Defendants Llanes and Taylor were acting in the scope and

  furtherance of their employment.

        58.    Defendants Llanes and Taylor acted intentionally, in bad faith, or

  with malicious purpose or in a manner exhibiting wanton and willful disregard

  of human rights, safety, or property.

        59.    As a direct and proximate result of Defendants Llanes and Taylor’

  conduct, Lopez suffered damages, including, bodily injury, pain and suffering,

  humiliation, loss of earnings, and loss of ability to earn money. The losses are

  permanent.

        For these reasons, Lopez demands judgment against Defendant Llanes

  and Taylor for compensatory damages, prejudgment interest on liquidated

  damages as allowed by law, punitive damages, costs, and such other and further

  relief as the Court deems appropriate.

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               CAUSES OF ACTION AGAINST CITY OF OPA-LOCKA

                    COUNT V - Federal Civil Rights Violations
                          (Against City of Opa-Locka)

        60.   Plaintiff realleges paragraphs 1 through 27.

        61.   Defendants Llanes and Taylor committed acts that violated Lopez’s

  constitutional rights.

        62.   Defendants Llanes and Taylor have not been disciplined for their

  unnecessary and excessive use of force.

        63.   The actions and inactions of Defendant City of Opa-Locka and

  Defendants Llanes and Taylor       were done pursuant to one or more of the

  following de facto policies, practices, and/or customs of the City that are so

  pervasive as to carry the force of law.

        64.   The City has a de facto policy, practice, and/or custom of concealing

  and/or suppressing officer misconduct (both on-duty and off-duty misconduct),

  including the use of unlawful force and unlawful seizures. The concealment and

  suppression of the existence of misconduct includes, but is not limited to: failure

  to sufficiently investigate allegations of misconduct; failure to accept and act on

  citizen complaints against police officers; failure to investigate criminal conduct

  involving off-duty or on-duty officers; disparate treatment between an officer who

  is the subject of an investigation and a non-officer suspect; failure to promptly

  record witness statements or preserve evidence; failure to promptly interview the

  suspected officer; failure to properly and sufficiently discipline an officer, even

  when a complaint is sustained; fabrication of exculpatory evidence or destruction

  of evidence; and failure to initiate prompt disciplinary procedures related to the

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  alleged misconduct, even when the allegation of misconduct is meritorious.

        65.    Likewise, the City has a de facto policy, practice, and/or custom of

  deficient and biased procedures for investigating complaints, including excessive

  force and unlawful searches and seizures against on-duty officers.

        66.    The City has a de facto policy, practice, and/or custom of failing to

  maintain accurate and complete records of complaints and investigations of

  misconduct.

        67.    The City has a de facto policy, practice, and/or custom of failing to

  turn over and disclose complete records of complaints and investigations of

  misconduct.

        68.    Further, the City acted in a manner consistent with a de facto policy,

  practice, and/or custom of a “code of silence” and “blue shield” when it engaged

  in conduct such as the illegal acts taken against the Plaintiff.

        69.    The City and its Police Department supervisors and superiors knew

  its officers were initiating unlawful searches and seizures as well as using

  excessive force against Opa-Locka citizens and residents. It took no actions to

  train or discipline its police officers.

        70.    Individually and collectively, the above described de facto policies,

  practices, and/or customs of the City proximately result in the culture and

  pervasive attitude among members of the Opa-Locka Police Department,

  including Defendants Llanes and Taylor, that they may engage in misconduct

  against citizens, residents, and others with impunity, and without fear of official

  consequence. Its police officers consider themselves “above the law.”


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        71.     The aforementioned de facto policies, practices, and/or customs of

  the   City,   individually   and   collectively,   have   been   maintained   and/or

  implemented with utter indifference by the City and has or have encouraged

  and/or motivated Defendants Llanes and Taylor to engage in the described

  conduct and wrongful acts against Lopez, and therefore acted as the direct and

  proximate cause of the injuries sustained by the plaintiff.

        72.     The aforementioned de facto policies, practices, and/or customs of

  the City, individually and/or collectively, was the moving force behind

  Defendants Llanes and Taylor’ described conduct, depriving Lopez of her

  Fourteenth Amendment substantive due process right to bodily integrity.

        73.     The above acts and/or omissions of the City violated Lopez’s rights

  under the Fourth and Fourteenth Amendments to the United States

  Constitution.

        74.     As a direct and proximate result of City’s conduct, Lopez was

  subjected to injury, including deprivation of her civil rights and a battery. Lopez

  suffered damages, including mental anguish, bodily injury, pain and suffering,

  humiliation, embarrassment, loss of earnings, and loss of ability to earn money.

  The losses are permanent.

        For these reasons, Lopez demands judgment against the City for

  compensatory damages, prejudgment interest on liquidated damages as allowed

  by law, punitive damages, costs, attorney’s fees, and such other and further relief

  as the Court deems appropriate.

                           COUNT VI - Assault and Battery
                             (Against City of Opa-Locka)

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        75.   Plaintiff realleges paragraphs 1 through 27.

        76.   Defendants Llanes and Taylor committed acts intended to cause

  Lopez an apprehension of harmful or offensive contact.

        77.   Defendant    Llanes   and   Taylor    committed   acts   that   caused

  apprehension in Lopez that harmful or offensive contact was imminent.

        78.   Lopez suffered a harmful and offensive contact when she was

  tasered and dropped on the floor by Llanes and Taylor.

        79.   Defendants Llanes and Taylor were acting in the scope of their

  employment.

        80.   Defendants Llanes and Taylor acted intentionally but not in bad

  faith or with malicious purpose or in a manner exhibiting wanton and willful

  disregard of human rights, safety, or property.

        81.   Pursuant to Florida Statute 768.28(9), the City is vicariously liable.

        82.   As a direct and proximate result of Defendants Llanes and Taylor’s

  Assault and battery, Lopez suffered damages, including mental anguish, bodily

  injury, pain and suffering, humiliation, embarrassment, loss of earnings, and

  loss of ability to earn money. The losses are permanent.

        For these reasons, Lopez demands judgment against the City for

  compensatory damages, prejudgment interest on liquidated damages as allowed

  by law, costs, and such other and further relief as the Court deems appropriate.

                     COUNT VII - False Imprisonment Claim
                         (Against City of Opa-Locka)

        83.   Plaintiff realleges paragraphs 1 through 27.

        84.   Defendants Llanes and Taylor did not have reasonable suspicion or

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  probable cause to seize or arrest Lopez.

        85.   Defendants Llanes and Taylor were acting in the scope and

  furtherance of their employment.

        86.   Defendants Llanes and Taylor acted intentionally but not in bad

  faith or with malicious purpose or in a manner exhibiting wanton and willful

  disregard of human rights, safety, or property.

        87.   Pursuant to Florida Statute 768.28(9), the City is vicariously liable.

        For these reasons, Lopez demands judgment against the City for

  compensatory damages, prejudgment interest on liquidated damages as allowed

  by law, punitive damages, costs, and such other and further relief as the Court

  deems appropriate.

              COUNT VIII - Negligent Training and/or Supervision
                         (Against City of Opa Locka)

        88.   Plaintiff realleges paragraphs 1 through 27.

        89.   At all times material hereto, Defendant City owed a duty to take

  reasonable care in the instruction, training, and supervision of its employees.

        90.   Defendant City breached its duty owed by several negligent acts,

  including but not limited to:

        a.    Maintaining a policy of ignoring and/or covering up known or

              suspected misconduct by its officers, including excessive and

              unreasonable uses of force and unlawful searches and seizures;

        b.    Maintaining a policy, plan, and practice of using Opa-Locka Police

              Department resources to protect its employees from criminal, civil,

              and administrative consequences of their unreasonable searches

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              and seizures and excessive use of force and to protect the City from

              embarrassment and accountability;

        c.    Maintaining a policy, plan, and practice of controlling persons and

              use of force reporting, allowing 1) incomplete statement-taking, 2)

              incomplete and disingenuous analysis of the force used, 3)

              understatements of the force used, and 4) overstatement of the

              resistance that the use of force allegedly responded to;

        d.    Failing to meaningfully train and/or discipline officers with respect

              to the appropriate use of force during police-citizen encounters and

              the proper reporting of incidents that involved the use of force, even

              after learning of a steady increase in the number of sustained

              excessive force allegations against Opa-Locka Police Department

              employees;

        e.    Failing to properly investigate suspected incidents of excessive force

              and unreasonable searches and seizures.

        91.   Defendant City breached its duty owed by negligently instructing,

  training, and supervising Defendants Llanes and Taylor in the reasonable and

  safe use of tasers in the performance of his duties as a law enforcement officer

  and in the reasonable and safe interaction with unarmed suspects without using

  unlawful violence.

        92.   As a direct and proximate result of the City’s negligent supervision,

  retention, and training of Defendants Llanes and Taylor, Lopez was subjected to

  injury, including deprivation of her civil rights and a battery. Lopez suffered


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  damages, including mental anguish, bodily injury, pain and suffering,

  humiliation, embarrassment, loss of earnings, and loss of ability to earn money.

  The losses are permanent.

        For these reasons, Lopez demands judgment against the City for

  compensatory damages, prejudgment interest on liquidated damages as allowed

  by law, punitive damages, costs, and such other and further relief as the Court

  deems appropriate.

                           DEMAND FOR JURY TRIAL

        Plaintiff YOLANDA LOPEZ requests a jury trial as to all counts so

  authorized.

  DATED May 30, 2024.

                                      Respectfully submitted,


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                                     By: /s/ Stephan Lopez Esq.
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